The assignments of error in the motion for new trial after conviction of murder presented no cause for new trial on the alleged grounds (1) that it was error to refuse to charge the jury on the law of voluntary manslaughter in mutual combat; (2) that the court failed to charge *Page 26 
the law of involuntary manslaughter; (3) that the instruction of the law of justifiable homicide was erroneous; (4) that the accused was deprived of his right in the impaneling of the trial jury; and (5) that a juror was not competent.
                      No. 13886. OCTOBER 15, 1941.
Frank Cornelious, on indictment for murder of Huriah Cornelious, committed by shooting with a shotgun, was found guilty without any recommendation by the jury, and was sentenced to die by electrocution. His motion for a new trial, based on the general grounds and ten special grounds, was overruled, and he excepted. So far as material to be stated, the evidence for the State tended to prove the crime as alleged in the indictment. The judge failed to charge literally or in substance, Code §§ 26-1006, defining manslaughter; 26-1007, defining voluntary manslaughter; and 26-1008, prescribing punishment for voluntary manslaughter. Complaint is made, in the first and third special grounds of the motion for a new trial, of the failure to charge these sections of the Code, and especially the law of voluntary manslaughter as related to mutual combat, because under the defendant's unsworn statement before the jury, and the evidence, the lesser grade of homicide could have been found by the jury, and if given in charge the jury probably would not have returned a verdict of guilty of murder, without recommendation, which required imposition of the sentence to die by electrocution. The following narrative is substantially gleaned from the evidence independently of the prisoner's statement before the jury, to which is added the substance of the prisoner's statement: Frank Cornelious was a young man, son of Huriah Cornelious (the person slain) and his wife, Dezella Cornelious (48 years old), and lived in the same house with them. They were negroes. The house was about one mile from a "Colored Baptist Church." On the night of March 24, 1941, there was at the church what was called a "box" or "chicken" supper. There was a "pasture" behind the church. Down in the woods in this pasture about a half mile from the church and about one and a half miles from the Cornelious home, there was on the date mentioned a gambling game played with dice, called craps, carried on by a number of persons. The game commenced just before sundown, and ended about 8:30 o'clock at night. Essex Axom and Frank Cornelious (the defendant) *Page 27 
were participants in the game, seated next to each other. A jug of whisky belonging to Frank was on the ground between the two. Near the close of the game a dispute arose between them. Essex, claiming that Frank owed him "twenty cents on the game," forcibly took Frank's jug of whisky, and refused his demand to give it up until he paid the twenty cents. As to this, Essex testified that he did not take hold of Frank at the time, and that "on the man I took his whisky, and I was going to keep it until he paid me." Also, that "If he had pulled his liquor, I reckon I would have jumped on him. I didn't hit him. If he had taken the liquor and not given me my twenty cents, we would have had trouble." Essex also testified that on the above occurrence Frank ran off, saying "he would be back directly." Frank went to the Cornelious home. What transpired there is illustrated by the testimony of his mother, thus: "I remember when he [Frank] came home. He didn't act like he was angry. . . My husband [Huriah] was sitting up in the chair, nodding. Frank later left the house. One of the children said they thought he had some shells, and another one said they thought he had a gun; and I woke Huriah Cornelious up to go see about him, and he went. . . He [Frank] didn't stay in the house so long. He came in, and said he was going to the chicken supper." Other testimony of Essex was substantially as follows: After Frank left the crap game he [Essex] left to go to his nearby home. He met a number of persons, "a heap of them," and stopped to talk. In "a few minutes people were coming from the church, and we were just standing up there, talking." Also: "I knew Huriah Cornelious, this boy's father. I saw him that night when he come up to the crowd and called me off. . . He asked me what was the trouble between me and Frank, and I told him [of the above-stated incident in relation to the twenty cents and the whisky]. Huriah Cornelious got shot while we were talking. From the voice I heard, Frank shot him. . . It was dark. . . When he shot . . Huriah said, `You done shot your daddy,' and . . staggered off, and Frank said, `Essex, I hear your damn mouth,' and I wheeled around, and then he shot me," from a distance of about thirty-six feet. From another witness it appeared that Huriah died in about ten minutes after being shot, and that the fussing between Frank and Essex at the crap game caused the witness to run away. The State introduced *Page 28 
testimony of the sheriff, that Frank stated, "he shot his daddy and that he was shooting at Essex Axom;" that he also "said it occurred at a crap game, and that it started about some money in the pot, and that Essex was holding the liquor for the money that he owed him. He didn't tell me that anybody was trying to kill him, or that he shot in self-defense." In addition to all the foregoing, the defendant put his general character in issue, and introduced witnesses who testified without contradiction that it was good. In his statement before the jury, not under oath, the defendant stated that he shot Essex twice, and did not see his father or know of his presence; that he had left his father at home asleep; also that while sitting on the porch of a restaurant "a Ford boy and Ambus Williams and them asked me and said let's go to the crap game, and Essex said, `I have been hunting you all evening, and couldn't find you;' and we went back to the church, and Essex had some whisky and we drank some, and we started shooting crap, and Essex slipped my pocket-book, and I saw him taking it out. I had $7 in there, and I asked him about my money, and he jumped up and said, `You . . I ain't got your money,' and it seemed like a frameup between these boys, and he said, `. . I am going to kill you the next time I see you,' and I walked off. I was scared of him, and he was a bad fellow anyway, and it looked like a frameup, and I started off, and he said, `You can go if you want to, you . . I am going to kill you next time I see you,' and I went home and got a gun, and went up to the church, and going to the church he was standing up in the road. I didn't see him, but heard him say, `You . . I told you I am going to kill you,' and I shot him, and he turned around, and I shot again. . . I was going to church, and I was going to hide the gun out there and go and get my people and go on home." Other facts sufficiently appear in the opinion.
1. In order to reduce a homicide from murder to voluntary manslaughter, as related to the doctrine of mutual combat, it should affirmatively appear that at the time of the homicide both parties were in position and manifested intention *Page 29 
to fight. Mere threats on the part of one party at the time of a fatal shot by the other will not suffice. Tate v. State,46 Ga. 148; Holland v. State, 166 Ga. 201 (142 S.E. 739);Brown v. State, 168 Ga. 671 (148 S.E. 583); Carter v.State, 171 Ga. 406 (2) (155 S.E. 670). The evidence in the instant case failed to show voluntary manslaughter as related to the doctrine of mutual combat. It was not erroneous, as complained of in the first special ground of the motion for a new trial, for the judge to fail to give in charge to the jury the law of voluntary manslaughter as related to the doctrine of mutual combat.
2. Special ground 3 of the motion for new trial alleges that the court erred "in failing to charge or refer to or read in said charge to the jury section 26-1006 of the Code of 1933, defining manslaughter, and section 26-1007 of the Code of 1933, defining voluntary manslaughter, and Code section 26-1008, prescribing the punishment for voluntary manslaughter; all said sections being pertinent and applicable to the issue in said case as embodied in the movant's statement and the testimony of Essex Axom; that the said error of the court was harmful and prejudicial to movant, in that he was denied this said theory of his defense which, if considered by the jury, would not have subjected him to a verdict of guilty of murder and sentence of the court to die by electrocution." Manslaughter as defined in the Code, § 26-1006, includes the entirely different crimes of voluntary manslaughter and involuntary manslaughter. So also voluntary manslaughter as defined in § 26-1007, and punished as prescribed in § 26-1008, includes voluntary manslaughter where the killing is in the course of mutual combat, or under various circumstances where there is no mutual combat. Consequently the ground of the motion for a new trial quoted above does not more definitely specify wherein it is contended that the court erred than if it had merely stated that the court erred in failing to charge the law of voluntary manslaughter. It fails to specify definitely wherein the court erred, and therefore is insufficient to present any question for decision. Smith v. State, 125 Ga. 300
(54 S.E. 124); Wilson v. State, 156 Ga. 42 (118 S.E. 427);Burley v. State, 158 Ga. 849 (3) (124 S.E. 532);Armstrong v. State, 181 Ga. 538 (3) (183 S.E. 67);Norris v. State, 184 Ga. 397 (191 S.E. 375); Bryant v.State, 180 Ga. 238 (178 S.E. 651). See Kennedy v. State,191 Ga. 22, 27, 28 (11 S.E.2d 179). *Page 30 
3. Ground 10 alleges error "in failing to charge the law of involuntary manslaughter," for stated reasons. On principles stated in the preceding division, this ground is too indefinite to present any question for decision. Williams v. State,176 Ga. 372 (168 S.E. 5); Harris v. State, 178 Ga. 746 (3) (174 S.E. 240).
4. Special ground 2 of the motion for a new trial complains of certain excerpts from the charge relating to the defense of justifiable homicide based on the doctrine of reasonable fears. Code, § 26-1012. The criticisms of the charge are (a) that it "restricted too narrowly the theory of fears of a reasonably courageous man as a defense, and . . is not the law;" (b) that "the court should have charged that mere threats and menaces may under some circumstances be sufficient to justify the homicide, and that under some circumstances and conditions it is not essential that there should be an actual assault;" (c) that the charge "excluded . . from the consideration of the jury . . the defense as supported by the evidence, that threats and menaces would be sufficient to justify the fear of a reasonably courageous man that a felonious injury was about to be committed on his person." The criticisms (a) and (b) are too indefinite to present any question for decision. Kennedy v. State, supra. The charge as given is not open to the last designated criticism. The decision in Montford v. State, 144 Ga. 582, 585
(87 S.E. 797), relied on by the plaintiff in error, had reference to "reasonable fears" as mentioned in a different section of the Code (§ 26-402) relating to commission of crime under threats, and is not applicable to the instant case.
5. Ground 4 complains that the movant has been denied the rights guaranteed to him as a citizen of the United States by the 14th amendment of the Federal constitution (Code, § 1-815); that his privileges and immunities have been abridged, and he is being denied his life and liberty and equal protection of the law, "because negroes . . who were and are citizens and taxpayers of the county . . and qualified to serve on juries therein . . [have] been systematically knowingly and designedly . . excluded, on account of their race and color, from the jury-boxes; . . that the exclusion of members of movant's race, . . from the jury-boxes of said county . . was a discrimination against him as a member of the negro race, and was harmful and prejudicial to him on said trial, and . . the verdict of the jury and the sentence *Page 31 
of the court is . . for said reasons . . a nullity." Ground 5 is of similar import, except that the complaint is that women were excluded from the jury-boxes. Ground 6 complains that the Code, § 59-106, relating to revision of jury-lists, is violative of the above cited provisions of the Federal and State constitutions, because it provides that only men citizens shall be drawn, etc., and consequently it abridges the privileges and immunities guaranteed to the accused. These grounds of objection so raised, in order to present any question for decision, should have been urged before indictment if known, or by plea in abatement after indictment and before final trial. If not so made, and the defendant takes the chance of a verdict of acquittal by the jury, he will be held to have waived such grounds of objection, and will not be heard to make them for the first time in a motion for new trial after conviction. Lumpkin v. State, 152 Ga. 229
(7, 9) (109 S.E. 664); Wilcoxon v. Aldredge, 192 Ga. 634
(15 S.E.2d 873); Kato v. State, 33 Ga. App. 342
(126 S.E. 266); Washington v. State, 95 Fla. 289 (116 So. 470); Merriweather v. Commonwealth, 118 Ky. 870 (82 S.W. 592, 4 Ann. Cas. 1039); Watts v. State, 75 Tex. Cr. 330 (171 S.W. 202). InThompson v. Aldredge, 187 Ga. 467 (200 S.E. 799), a habeas-corpus case, the indictment showed on its face that it was void, and the decision of this court holding that the trial judge erred in refusing to discharge the prisoner is inapplicable to the instant case on motion for a new trial, in which the indictment does not show invalidity upon its face.
6. "The fact that a member of the jury trying the case was a non-resident of the county in which the case was tried was a disqualification propter defectum, and, in the absence of challenge, was not ground for a new trial, no matter when the incompetency of the juror was discovered." Taylor v. Warren.175 Ga. 800 (3) (166 S.E. 225). There is no merit in ground 7 of the motion for a new trial, which complains of disqualification of a juror because he was a non-resident of the county, a fact unknown to the defendant or his attorneys until after verdict. For similar reason there is no merit in ground 8, which complains that a juror was incompetent because he had pleaded guilty to a charge of misdemeanor by driving an automobile on the public highway while under the influence of liquor. It is not intended by this ruling to intimate that commission of such an offense would render the offender incompetent to serve as a juror. *Page 32 
7. Ground 9 complains that Herbert Brown, a resident of the county, "fraudulently, knowingly, and illegally accepted a summons for jury service, . . drawn for and in behalf of Hubert Brown;" that said "Herbert Brown;" that "he answered said summons and impersonated Hubert Brown;" that "he answered to the name of Hubert Brown and served . . during said term in the name of Hubert Brown;" that he served as a traverse juror in the instant case as "Hubert Brown, thereby impersonating Hubert Brown;" that the name of Herbert Brown is not in the jury-box; that "he is not a qualified juror," but, being accepted as a juror, participated in the trial and verdict, which found the defendant guilty of murder without recommendation; that neither defendant nor his counsel knew of the facts above enumerated until after the trial and could not have ascertained them by "extraordinary diligence."
(a) It is not alleged that there were two men bearing separate names as mentioned. Allowing the usual presumption in favor of official action (Hansen v. Owens, 132 Ga. 648,663, 64 S.E. 800), it will be presumed prima facie that the name of Hubert Brown was in the jury-box, and was properly drawn; otherwise a summons would not have issued in that name. As it is alleged that Herbert Brown was a resident of the county, and it is not alleged that another person called Hubert Brown resided in the county, it will be presumed prima facie that Herbert Brown was the person whose name was intended to be put in the jury-box, and that the only difference was the misspelling of the name.
(b) Fraud being the gist of the complaint made by the movant, the mere fact of misspelling the name would not suffice to show that Herbert Brown was incompetent (Ratteree v.State, 53 Ga. 570; Hayes v. State, 58 Ga. 35; Pool v.Callahan, 88 Ga. 468, 14 S.E. 867; Roland v. State,127 Ga. 401, 56 S.E. 412; Cason v. State, 134 Ga. 786 (2),68 S.E. 554; Webb v. State, 149 Ga. 211, 99 S.E. 630) or be sufficient to support the charge of fraud. The allegations of the motion for a new trial failed to meet the above-stated prima facie presumption; and consequently Herbert Brown is to be deemed a competent juror, as against the charge that he was an illegal and fraudulent impersonator of Hubert Brown.
(c) No such question was involved or dealt with in Wright
v. Davis, 184 Ga. 846, 851 (193 S.E. 757); Taylor v.Warren, 175 Ga. 800 (166 S.E. 225). *Page 33 
8. The evidence was sufficient to support the verdict, and there was no error in refusing a new trial.
Judgment affirmed. All the Justices concur.